Case 9:18-cv-80176-BB Document 558-8 Entered on FLSD Docket 06/02/2020 Page 1 of 2
                                                        Tuesday, June 2, 2020 at 19:24:16 Eastern Daylight Time

Subject:    Fwd: Kleiman v. Wright - mul6media ﬁles
Date:       Tuesday, June 2, 2020 at 7:11:32 PM Eastern Daylight Time
From:       Joseph Delich
To:         Stephen Lagos
AEachments: 2020.4.1 Kleiman v. Wright Mul6media ﬁles requested by Dr. Wright.xlsx, ATT00001.htm



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Begin forwarded message:


      From: Kyle Roche <kyle@rcﬂlp.com>
      Date: May 26, 2020 at 7:20:56 AM EDT
      To: Joseph Delich <jdelich@rcﬂlp.com>
      Subject: FW: Kleiman v. Wright - mulMmedia ﬁles




      Kyle Roche
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      From: Zaharah Markoe <zmarkoe@riveromestre.com>
      Date: Wednesday, April 1, 2020 at 6:31 PM
      To: Kyle Roche <kyle@rcﬂlp.com>
      Cc: Zalman Kass <zkass@riveromestre.com>
      Subject: Kleiman v. Wright - mul6media ﬁles

      Kyle,

      Following up from today’s hearing and in advance of tomorrow’s hearing, I afach a narrowed
      list of mul6media ﬁles. Please highlight any disputed items and return it to us tonight or
      tomorrow morning so we can review. We are available in the morning for a meet and confer if
      necessary to try to resolve any outstanding issues. If you do not believe a meet and confer will
      be produc6ve or if we cannot resolve all of the disputed items, we will send the list with the
      disputed highlights to the Court by noon in order to give the Court adequate 6me to review in

                                                                                                         Page 1 of 2
Case 9:18-cv-80176-BB Document 558-8 Entered on FLSD Docket 06/02/2020 Page 2 of 2


     advance of the 2 p.m. hearing.

     Best regards,

     Zaharah Markoe

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